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 4   Telephone: (916) 554-2729
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 6
                      IN THE UNITED STATES DISTRICT COURT
 7
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,       )         CR. No. S-08-543 GEB
10                                   )
                     Plaintiff,      )
11                                   )         MOTION TO DISMISS INDICTMENT
                  v.                 )         AND [PROPOSED] ORDER
12                                   )
     DONG SONG,                      )
13                                   )
                      Defendant.     )
14   ________________________________)
15
16         Pursuant to Rule 48 of the Federal Rules of Criminal
17   Procedure, Plaintiff, United States of America, by and through
18   its undersigned attorney, asks the Court for an order dismissing
19   the indictment against Dong Song in Case No. S-08-543 GEB.
20         The two-count indictment in that case charged the defendant
21   with violating Title 21, Untied States Code, Sections 846 and
22   841(a)(1) – Conspiracy to Manufacture Over 1000 Plants of
23   Marijuana Plants, and Manufacturing Over 100 Plants of Marijuana.
24         On June 11, 2010, Dong Song pleaded guilty to a superseding
25   information charging a violation of Title 18, United States Code,
26   Section 4 – Misprision of a Felony.        The defendant was recently
27   sentenced for the crime charged in the superseding information.
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 1        At the sentencing hearing, the government forgot to dismiss
 2   the underlying indictment.        As such, pursuant to the parties
 3   agreement, the government now asks the Court to dismiss that
 4   indictment.
 5
 6   DATE: September 16, 2010                   BENJAMIN B. WAGNER
                                                United States Attorney
 7
 8                                         By: /s/ Michael M. Beckwith
                                               MICHAEL M. BECKWITH
 9                                             Assistant U.S. Attorney
10
11
12                                     O R D E R
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16   APPROVED AND SO ORDERED:
17
     Dated:     September 16, 2010
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19
                                       GARLAND E. BURRELL, JR.
20                                     United States District Judge

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